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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 6/22/2022
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   UNITED STATES OF AMERICA,                                  :
                                                              :
                                                              :         1:20-cr-314-GHW
                                 – against–
                                                              :
                                                              :             ORDER
   ETHAN PHELAN MELZER,                                       :
           a/k/a “Etil Reggad,”                               :
                                                              :
                                                              :
                                            Defendant.
                                                              X
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GREGORY H. WOODS, United States District Judge:

        The Court has received Defendant’s motion to admit evidence that CC-1 was 15 years old,

Dkt. No. 136, Defendant’s list of statements that should be admitted pursuant to the rule of

completeness, Dkt. No. 137, and Defendant’s objections to the Government’s newly proposed

exhibits, Dkt. No. 138, all of which were filed on June 21, 2022. The Government’s responses to

those filings are due no later than Saturday, June 24, 2022. Defendant’s replies, if any, are due no

later than Monday, June 27, 2022 at 6:00 p.m.

        SO ORDERED.

Dated: June 21, 2022
New York, New York                                           __________________________________
                                                                     GREGORY H. WOODS
                                                                    United States District Judge
